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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KIRK E. SHERRIFF
   MEGAN A. S. RICHARDS
 3 Assistant United States Attorneys
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                            CASE NO. 1:13-CR-00412 LJO-BAM
12
                                   Plaintiff,             STIPULATION AND ORDER BETWEEN THE
13                                                        UNITED STATES AND RAMON GOMEZ
                            v.                            GARCIA
14
     RAMON GOMEZ GARCIA,
15
                                   Defendant.
16

17

18                                                STIPULATION

19

20          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal

21 information including but not limited to tax returns, Social Security numbers, dates of birth, financial

22 account numbers, telephone numbers, and residential addresses (“Protected Information”); and

23          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

24 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

25 proceedings in this matter;

26          The parties agree that entry of a stipulated protective order is appropriate.

27          THEREFORE, defendant RAMON GOMEZ GARCIA, by and through his counsel of record

28 Nicholas F. Reyes (“Defense Counsel”), and the United States of America, by and through its counsel of

      STIPULATION AND [PROPOSED]                          1
      ORDER
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 1 record, hereby agree and stipulate as follows:

 2          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 3 Criminal Procedure, and its general supervisory authority.

 4          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 5 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 6          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 7 documents that contain Protected Information with anyone other than Defense Counsel and designated

 8 defense investigators and support staff. Defense Counsel may permit the defendant to view unredacted

 9 documents in the presence of his attorney, defense investigators and support staff. The parties agree that

10 Defense Counsel, defense investigators, and support staff shall not allow the defendant to copy Protected

11 Information contained in the discovery. The parties agree that Defense Counsel, defense investigators,

12 and support staff may provide the defendant with copies of documents from which Protected

13 Information has been redacted.

14          4.      The discovery and information therein may be used only in connection with the litigation

15 of this case and for no other purpose. The discovery is now and will forever remain the property of the

16 United States Government. Defense Counsel will return the discovery to the Government or certify that

17 it has been destroyed at the conclusion of the case.

18          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

19 ensure that it is not disclosed to third persons in violation of this agreement.

20          6.      Defense Counsel shall be responsible for advising the defendants, employees, other

21 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

22          7.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

23 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

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        STIPULATION AND [PROPOSED]                        2
        ORDER
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 1 this Order or the Court modifies this Order regarding such transfer of discovery.

 2          IT IS SO STIPULATED.

 3 Dated: December 9, 2013                                  BENJAMIN B. WAGNER
                                                            United States Attorney
 4

 5                                                          /s/ Megan A. S. Richards
                                                            MEGAN A. S. RICHARDS
 6                                                          Assistant United States Attorney

 7 Dated: December 9, 2013                                  /s/ Nicholas F. Reyes
                                                            NICHOLAS F. REYES
 8                                                          Counsel for Defendant

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13 IT IS SO ORDERED.

14      Dated:                    December 11, 2013          /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
15          DEAC_Signature-END:




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      STIPULATION AND [PROPOSED]                        3
      ORDER
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